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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION



  AARON HALL, KATHERINE GLOD, and
  JEFFREY BINDER, on behalf of
  themselves and all others similarly situated,
                                                  Case No.: 4:22-cv-12743-
                                                  LJM-CI
                           Plaintiff
  vs                                              Honorable F. Kay Behm
                                                  Honorable Curtis Ivy, Jr.
  TRIVEST PARTNERS L.P., TGIF POWER
  HOME INVESTOR, LLC, and WILLIAM
  JAYSON WALLER


                           Defendants


______________________________________________________________

     DEFENDANTS TRIVEST PARTNERS L.P. AND TGIF POWER
    HOME INVESTOR, LLC’S REPLY IN SUPPORT OF THEIR JOINT
         MOTION TO DISMISS PLAINTIFFS’ COMPLAINT




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        Plaintiffs’ response to the Motion to Dismiss confirms that this Court should

dismiss Plaintiffs’ claims against Trivest Partners L.P. (“Trivest”) and TGIF Power

Home Investor, LLC (“TGIFPHI”).

                                     ARGUMENT

I.      Plaintiffs’ reliance on RICO nationwide service is misplaced.

        Plaintiffs have conceded that this Court cannot exercise personal jurisdiction

over Trivest and TGIFPHI under a traditional analysis. They make no effort to

advance any argument that general jurisdiction exists. Nor do they have any answer

for Dean v. Motel 6 Operating L.P.

        Acknowledging this, Plaintiffs attempt an end-run around their jurisdictional

hurdles by claiming that this Court can hale Trivest and TGIFPHI into court under

RICO. But both the case law and argument advanced by Plaintiffs are inapposite.

        Plaintiffs contend that under certain circumstances, RICO jurisdiction may

exist over every defendant if jurisdiction exists over a single defendant. ECF No.

18, PageID.167-70. True. See Peters Broadcast Eng’g, Inc. v. 24 Capital, LLC, 40

F.4th 432, 440 (6th Cir. 2022) (quoted by ECF No. 18, PageID.167). But the test

requires more than just jurisdiction over a single defendant. See id. It also requires

a showing that no other jurisdiction can host the litigation and that the “ends of




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justice” so require exercising jurisdiction.1 Id.

        But a plaintiff cannot satisfy this “ends of justice” requirement by simply

bringing a RICO claim in a complaint. That is because RICO’s “first preference

. . . is to bring the action where suits are normally expected to be brought.” E & M

Props., Inc. v. Razorgator, Inc., 2008 WL 1837261, at *7 (E.D. Mich. Apr. 23,

2008). This is to prevent “haling defendants into far flung fora.” Id.

        For this reason, “[w]hether a plaintiff can rely on the nationwide service

provisions of a federal statute ‘[d]epends upon whether [he] has adequately stated a

claim’ for violation of that statute.” Prakash v. Altadis U.S.A. Inc., 2012 WL

1109918, at *16 (N.D. Ohio Mar. 30, 2012) (citations omitted) (alterations in

original) (dismissing for lack of personal jurisdiction where plaintiff failed to state

plausible RICO claim). Understandably, the ends of justice are not served where

personal jurisdiction is based on inadequately pleaded RICO claims. E & M Props.,

Inc., 2008 WL 1837261, at *8. Courts throughout the country have followed this


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  Plaintiffs contend that there is “no suggestion or indication that Defendant Waller
could be subject to personal jurisdiction” in Florida, where Trivest and TGIFPHI
would be. ECF No. 18, PageID.169. Not so. Plaintiffs claim that specific personal
jurisdiction exists over Defendant Waller in Michigan because he “personally
transacted business within Michigan through PHS/PE and caused consequences
within the state resulting in an action for tort.” Id. (emphasis added). But the same
argument would apply in Florida given that Plaintiffs assert a nationwide class, and
that PHS/PE was registered to do business in Florida in the relevant time period, see
Exhibit 1, which this Court may take judicial notice of, Doss v. Corizon, Inc., 2022
WL 13475138, at *1 & n.1 (W.D. Mich. Oct. 21, 2022). Thus, Plaintiffs’ “no other
court” argument holds no water.
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approach. See, e.g., Pop Test Corisol, LLC v. Univ. of Chicago, 2015 WL 3822237,

at *4-5 (D.N.J. June 18, 2015) (dismissing for lack of personal jurisdiction because

there was no plausible RICO claim); Williams v. D. Richey Mgmt. Corp., 1988 WL

8983, at *2 (N.D. Ill. Jan. 28, 1988) (similar).

          And as explained in more detail below, Plaintiffs have failed to plead any

viable RICO claim. See Section II. Thus, RICO’s nationwide service provision does

not serve as a lifeline to Plaintiffs’ fledgling personal jurisdiction argument.

II.       Plaintiffs’ Response fails to save their RICO claim.

          First, Plaintiffs barely respond to the argument that they have failed to

specifically connect their allegations to Trivest and TGIFPHI. Instead, they just state

that “Plaintiffs have alleged that Defendants entered into a scheme to defraud in

which the mails and wires were used, and that Plaintiffs were injured as a proximate

result of that scheme. No more and no less is required.” ECF No. 18, PageID.175.

Plaintiffs ask this Court to hold that RICO is so expansive that any conclusory-pled

link, no matter how tangential, between Trivest, TGIFPHI, and PHS/PE is enough

to not only exercise personal jurisdiction over Trivest and TGIFPHI but to hold them

liable.

          Not so. Plaintiffs are required to plead what specific actions Trivest and

TGIFPHI took that plausibly led to Plaintiffs’ injury. They have not done so.

Plaintiffs do not allege that these two Defendants actually committed any predicate


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acts. See Kerrigan v. Visalus, Inc., 2016 WL 892804, at *3 (E.D. Mich. Mar. 9,

2016) (to state 1962(c) claim against any defendant, plaintiff must sufficiently allege

that defendant “actually committed two predicate acts”). Allegations in passive

voice that Defendants caused the use of the mails or wires will not suffice. See id.

Further, even though Plaintiffs argue that they need not plead reliance, ECF No. 18,

PageID.171, “Plaintiffs still need to plead some direct relation between the injury

asserted and the injurious conduct alleged,” Kerrigan, 2016 WL 892804, at *7.

Plaintiffs have failed to do so as it relates to Trivest and TGIFPHI. The link between

Trivest and TGIFPHI’s investment in PHS/PE and Plaintiffs’ alleged injuries is too

attenuated to satisfy RICO’s causal connection requirement. Id. Plaintiffs thus fail

to state a RICO claim here.

        Second, all of Plaintiffs’ RICO claims fail for lack of particularity. As

explained by Trivest and TGIFPHI, this requires that Plaintiffs plead “which

defendant caused what to be mailed . . . and when and how each mailing . . . furthered

the fraudulent scheme.” ECF No. 17, PageID.134 (quoting Gotham Print, Inc. v.

Am. Speedy Printing Ctrs., Inc., 863 F. Supp. 447, 457-58 (E.D. Mich. 1994)). As

noted above, there is no particularity in the Complaint at all as to Trivest and

TGIFPHI. Plaintiffs’ only rejoinder is that it pled particularity as to PHS/PE and

that this is enough. Once again, not so. Plaintiff must connect Trivest and TGIFPHI

to PHS/PE’s actions in more than conclusory fashion to clear the pleading bar. They


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have not done so here.

        In addition, Plaintiffs identify no specific date whatsoever as to when any

predicate act was allegedly committed. Instead, Plaintiffs take the position that these

predicate acts occurred “uninterrupted through the class period.” ECF No. 1,

PageID.20, ¶ 82. Plaintiffs should identify a specific date for these predicate RICO

acts. But they don’t. Because they can’t.

        Third, Plaintiffs fail to state a claim under 18 U.S.C. § 1962(d). 18 U.S.C.

1962(d) makes it unlawful to conspire to violate either subsection (a), (b), or (c).

Plaintiffs do not pursue any subsection (b) claim. Plaintiffs rightfully drop their

subsection (a) claims. As explained above, their subsection (c) claims fail due to a

failure to connect their allegations to Trivest and TGIFPHI and a lack of

particularity. Thus, Plaintiffs do not have a conspiracy claim under § 1962(d).

        This simply underscores the point that Trivest and TGIFPHI have made

repeatedly, which Plaintiffs have willfully ignored: regardless of merit, they pursue

traditional consumer fraud claims. The only reason they invoke RICO is to attempt

to rope Trivest and TGIFPHI into the lawsuit inappropriately.

        For these reasons, their RICO claims must be dismissed.

III.    Plaintiffs’ Response also fails to save their MCPA claim.

        First, in an attempt to escape Michigan’s broad economic loss rule, Plaintiffs

claim that they engaged PHS/PE personnel to provide services—i.e., designing and


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installing their array of solar panels. But the allegations in the Complaint belie that.

        At issue is the sale of solar systems. The thrust of Plaintiffs’ claims is that

salespersons sold a “junk” system to each Plaintiff that “has not provided any

significant benefit whatsoever despite costing tens of thousands of dollars.” ECF

No. 1, PageID.21-22, ⁋⁋ 90-92.         They complain that their systems are “not

functioning as they were supposed to.” Id. ⁋ 93. They do not seek recovery for the

failure in design, just for the failure of the product. Notably, the class definition

does not mention services at all; it includes all persons “who purchased a home solar

system.” Id. ¶ 116. It is clear that the Complaint focuses on the acquisition of goods

rather than services.

        Second, the MCPA’s safe harbor provision does apply. Plaintiffs in their

Response apply the wrong standard. They state that “[t]he general transaction of

designing, selling, and/or installing a residential solar system is not specifically

authorized by Michigan law.” ECF No. 18, Page ID.180. Yet, “the relevant inquiry

[under the MCPA safe harbor statute] is not whether the specific misconduct alleged

by the plaintiffs is specifically authorized.” Smith v. Globe Life Ins. Co., 597 N.W.2d

28, 38 (Mich. 1999). It is whether the transaction itself is subject to regulation. And

Trivest and TGIFPHI list at least four statutes that regulate the transaction. Plaintiffs

have no response to this.




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IV.     Plaintiffs fail to explain why Rule 12(b)(7) does not compel dismissal.

        Plaintiffs concede that “PHS/PE could readily be joined to this case because

it arises out of PHS/PE’s business activities in Michigan.” ECF No. 18, PageID.181.

But they did not do so despite their Complaint’s focus being almost entirely on

PHS/PE. Plaintiffs argue that there is no reason why this Court could not accord

complete relief among existing parties in the absence of PHS/PE. Not true. Moving

forward without PHS/PE creates a significant risk of parallel litigation and

inconsistent relief, especially given that other, similar cases have named PHS/PE as

a defendant. ECF No. 17, PageID.144.

                                    CONCLUSION

        The Court should dismiss Plaintiffs’ claims against Trivest and TGIFPHI with

prejudice.

Dated: March 22, 2023

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                          CERTIFICATE OF SERVICE

        I hereby certify that on March 22, 2023, I electronically filed the forgoing

with the Clerk of Court using the Court’s ECF system, which will send notification

of such filing to all counsel of record.

                                               Respectfully submitted,

                                               By: /s/ Benjamin J. VanderWerp




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